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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE


   GLENWOOD W., JR.,                    )
                                        )
                Plaintiff               )
                                        )
         v.                             )     1:20-cv-00409-JAW
                                        )
   KILOLO KIJAKAZI,                     )
   Acting Commissioner of Social        )
   Security,                            )
                                        )
                Defendant               )


                 ORDER AFFIRMING THE RECOMMENDED
                  DECISION OF THE MAGISTRATE JUDGE

         No objection having been filed to the Magistrate Judge’s Recommended

   Decision filed November 10, 2021 (ECF No. 23), the Court accepts the

   Recommended Decision.

         The Court has reviewed and considered the Magistrate Judge’s

   Recommended Decision, together with the entire record; the Court has made a

   de novo determination of all matters adjudicated by the Magistrate Judge’s

   Recommended Decision; and the Court concurs with the recommendations of

   the United States Magistrate Judge for the reasons set forth in his

   Recommended Decision, and determines that no further proceeding is

   necessary.
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         Accordingly, it is ORDERED that the Recommended Decision (ECF No.

   23) of the Magistrate Judge is ACCEPTED and the Court AFFIRMS the

   Commissioner’s administrative decision.

         SO ORDERED.

                                  /s/ John A. Woodcock, Jr.
                                  JOHN A. WOODCOCK, JR.
                                  UNITED STATES DISTRICT JUDGE

   Dated this 2nd day of December, 2021




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